Case 8:16-cv-01440-JLS-DFM Document 69-2 Filed 09/01/17 Page 1 of 7 Page ID #:749




                     EXHIBIT B
Case 8:16-cv-01440-JLS-DFM Document 69-2 Filed 09/01/17 Page 2 of 7 Page ID #:750
Case 8:16-cv-01440-JLS-DFM Document 69-2 Filed 09/01/17 Page 3 of 7 Page ID #:751
Case 8:16-cv-01440-JLS-DFM Document 69-2 Filed 09/01/17 Page 4 of 7 Page ID #:752
Case 8:16-cv-01440-JLS-DFM Document 69-2 Filed 09/01/17 Page 5 of 7 Page ID #:753
Case 8:16-cv-01440-JLS-DFM Document 69-2 Filed 09/01/17 Page 6 of 7 Page ID #:754
Case 8:16-cv-01440-JLS-DFM Document 69-2 Filed 09/01/17 Page 7 of 7 Page ID #:755
